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                 Exhibit A
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 ‘pp
 International Chamber of Commerce
 The world business organization
 International Court of Arbitration ~ Cour internationale d’arbitrage




                                      AWARD




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ICC International Court of Arbitration         • Cour internationale d’arbitrage de Ia CCI
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E-mail arb@iccwbo.org Website v~*w.iccarbitration.org
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                ICC INTERNATIONAL COURT OF ARBITRATION




                            CASE No. 17720/ARP/MDITO

0
                         1. AMAPLAT MAURITIUS LIMITED

                                       (Mauritius)

                2. AMARI NICKEL HOLDINGS ZIMBABWE LIMITED

                                       (Mauritius)

                                           vs/

             1. ZIMBABWE MINING DEVELOPMENT CORPORATION

                                      (Zimbabwe)


G   2. THE CHIEF MINING COMMISSIONER, MINISTRY OF MINES, ZIMBABWE
                               (Zimbabwe)




     This document is an original of the Final Award rendered in conformity with the
            Rules of Arbitration of the ICC International Court of Arbitration.

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    IN THE MATTER OF AN INTERNATIONAL CHAMBER OF COMMERCE
    ARBITRATION CASE NO. 17720/AMP/MD/TO
    UNDER THE ICC RULES OF ARBITRATION 1998
    BETWEEN:
               1.   AMAPLAT MAURITITJS LIMITED
               2.   AMARI NICKEL HOLDINGS ZIMBABWE LIMITED
                                                          Claimants

                                    -   and   —




               1.   ZIMBABWE MINING DEVELOPMENT CORPORATION
               2.   THE CHIEF MINING COMMISSIONER, MINISTRY OF
                    MINES, ZIMBABWE
                                                      Respondents


0
                            FINAL AWARD


                     Place of arbitration: Lusaka, Zambia

                                 Tribunal:
                         Mr Chikwendu Madumere
                           Professor Doug Jones
                           Mr Stuart Isaacs QC


                               12 January 2014


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    IN THE MATTER OF AN INTERNATIONAL CHAMBER OF COMMERCE
    ARBITRATION CASE NO. 17720/ARP/MD/TO
    BETWEEN:
                   I.      AMAPLAT MAURITIUS LIMITED
                   2.      AMARI NICKEL HOLDINGS ZIMBABWE LIMITED
                                                                 Claimants

                                             -   and   —




                   1.      ZIMBABWE MINING DEVELOPMENT CORPORATION
                   2.      THE CHIEF MIMNG COMMISSIONER, MINISTRY OF
                           MINES, ZIMBABWE
                                                             Respondents

                                    FINAL AWARD
0      I. THE PARTIES AND THEIR LEGAL REPRESENTATIVES
     I.      The First Claimant is Amaplat Mauritius Limited (“Amaplat”), a company
    incorporated under the laws of Mauritius. The Second Claimant is Amari Nickel Holdings
    Zimbabwe Limited (“Amari”), also a company incorporated under the laws of Mauritius.
    Amari is a wholly-owned subsidiary of Amari Resources International Limited, an
    international resource investment company focused on exploration and minin1 in sub-Saharan
    Africa. The Claimants have their principal place of business at Amari, 3 Floor, Melrose
    Boulevard, Melrose Arch, Johannesburg, South Africa. The Claimants are represented in
    these proceedings by Advocates Neil Lazarus SC and Saul Miller and by Bernadt Vukic
    Potash & Getz Attorneys (“BVPG”), 11th Floor No. I Thibault Square, Cape Town 8001,
    Republic of South Africa.

    2.      The First Respondent is Zimbabwe Mining Development Corporation (“ZMDC”), a
    body corporate established under the Zimbabwe Mining Development Corporation Act (Cap.
    21:08) of the Republic of Zimbabwe (“the Act”) having its address at Ground Floor, MMCZ
    Building, 90 Mutare Road, Msasa, Harare, Zimbabwe. ZMDC’s business includes investing
    in mining and mining development on behalf of the Government of Zimbabwe. The Second
    Respondent is The Chief Mining Commissioner (“the Chief Mining Commissioner”),
    Ministry of Mines, Zimbabwe, having his address at 7th Floor, Zimre Centre, Private Bag CY
    7709, Causeway, Harare, Zimbabwe. The Respondents are represented in these proceedings
    by Mutamangira & Associates (Mr Jacob Mutevedzi) Clairwood Chambers, 38 Clairwood
    Road, Alexandra Park, Harare, Zimbabwe.

                           II. RELEVANT BACKGROUND
    3.      ZMDC hold 45% of the shares in Zimari Nickel (Pvt) Ltd (“Zimari Nickel”), ajoint
    venture company incorporated by those parties to prospect for nickel and develop a mine
    pursuant to a Memorandum of Understanding between Amari Holdings Ltd (“Amari BVI”),
    a company incorporated in the British Virgin Islands, and ZMDC dated 22 November 2007
    (“the Nickel MOU”). According to the Claimants, Amari holds 55% of the shares in Zimari
    Nickel but this is disputed by the Respondents.

    4.      By a Deed of Novation dated 6 June 2008 between Amari BVI, Amari and ZMDC
    (“the Deed of Novation”), with effect from I May 2008 Amari BVI was released and
    discharged from its rights and obligations pursuant to the Nickel MOU upon Amari’s
    undertaking to Amari BVI and ZMDC to perform Amari BVI’s obligations
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     Nickel MOU and be bound by its terms and conditions as if Amari had been the original party
     to the Nickel MOU in place of Amari BVI. By clause 3.1 of the Deed of Novation, Amari
     BVI and ZMDC acknowledged that Amari would be solely entitled to the entire rights and
     benefits under the Nickel MOU as if Amari were the original party to it in place of Amari
     BVI.

     5.       ZMDC holds 50% of the shares in Zimari Platinum (Pvt) Ltd (“Zimari Platinum”),
     a joint venture company incorporated by those parties to prospect for various metals and
     develop a mine pursuant to a Memorandum of Understanding between Amaplat and ZMDC
     dated 25 July 2008 (“the Platinum MOU”). According to the Claimants, Amaplat holds 50%
     of the shares in Zimari Platinum but this is disputed by the Respondents.

     6.     The Nickel and the Platinum MOUs (together “the MOUs”) were concluded by Mr
     Michael Nunn on behalf of Amari BVI and Amaplat respectively and by Mr Dominic
     Mubayiwa, at the time ZMDC’s Chief Executive Officer, on ZMDC’s behalf.

     7.      By a letter dated 10 November 2010 from ZMDC to the Claimants, ZMDC inter alia
(3   noted that there was “a corrupt relationship which unduly influenced the signing of the
     [Platinum MOUJ”; stated that there was “no Joint Venture Agreement regulating our
     relationship”; and concluded that:

             “As a result of the above, we advise you that your conduct is unacceptable, improper
             and directly undermines the basic tenets of corporate governance principles which
             we so cherish and adhere to. It contravenes the Zimbabwean laws and we reserve the
             right to report you for prosecution. Your conduct goes to the core of our relationship
             and as such we are no longer prepared to engage yourselves for negotiations to the
             next stage of a Joint Venture AgreemenL In fact out relationship terminatedfor both
             platinum and nickel properties.”

     8.       By a letter dated 22 November 2010 in reply, the Claimants inter alia disputed
     ZMDC’s allegations and its entitlement to terminate the MOUs and maintained that those
     agreements were legally binding and of full force and effect. By a letter dated 13 January
     2011, the Claimants informed ZMDC that it would have no choice but to enforce their legal
     rights in the continuing absence of any undertaking from ZMDC that it would take no steps to
     prejudice the Claimants’ rights pending the final determination of arbitration proceedings.

     9.       By letters dated 14 January 2011, ZMDC reiterated its position that the MOUs had
     been “cancelled” and notified the Claimants forthwith to stop any exploration activities and to
     vacate the site.

                IlL ARBITRATION CLAUSE AND PROPER LAW

     10.     Article II of the Nickel MOU and Article 9 of the Platinum MOU provide that:

            “In the event of a dispute or disputes arising, such disputes, controversies or
            differences between the Parties, which may arise out of or in relation to the MOU
            and which cannot be settled by the Boar4 the parties shall first try to resolve it
            anncably through negotiation. In the event that no settlement can be reached through
            negotiation in reasonable time, any Party may submit the dispute to the ICC
            International Court of Arbitration in Paris for arbitration in accordance with the
            procedural rules of arbitration of the said Arbitration Court in effect at the time of
            applying arbitration, the award of which shall be final and binding upo th Parties.
            The language in Arbitration shall be in English.”             ~cRTFE     T    C      F     E 0 I INAL HEREOF



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11.    In accordance with Article 12.7 of the Nickel MOU and Article 10.8 of the Platinum
MOU, the present dispute is to be determined under the laws of Zimbabwe.

                          IV. PROCEDURAL HISTORY
12.      On 2 February 2011, the Secretariat of the International Court of Arbitration (“the
Secretariat”) received from the Claimants a Request for Arbitration and attached a Statement
of Claim dated 31 January 2011 (“the Request”). On 15 February 2011, the Secretariat
served the Request on the Respondents.

13.    The arbitration clauses did not speci& the number of arbitrators. By paragraph 9 of
the Request, the Claimants requested the appointment of a Sole Arbitrator.

 14.    By a letter dated 2 March 2011, the Claimants requested that the arbitration take place
in Gabarone, Botswana.

15.     By a letter dated 10 March 2011 from Mutamangira & Associates, the Respondents
stated that they objected to the appointment of a Sole Arbitrator and requested the
appointment of three arbitrators.

 16.    On 22 March 2011, the Respondents sent by email to the Secretariat the “First and
Second Respondent’s [sic) Statement of Opposition dated March 2011 (“the Answer”),
together with a covering letter dated 17 March 2011. The Answer was a revised version of a
document previously emai led to the Secretariat on 18 March 2011.

17.    On 29 March 2011, the Secretariat invited the Respondents to comment on the
Claimants’ proposal that the place of arbitration be Gabarone.

18.     On 31 March 2011, the Respondents “recommended” that the place of arbitration be
Namibia and stated that, in the absence of agreement between the parties on that issue, the
place of arbitration should be determined by the International Court of Arbitration of the ICC
(“the Court”).

19.     In circumstances where the parties were unable to agree on the number of arbitrators
and on the place of the arbitration, on 12 May 2011, the Court decided inter alia:

        (1)     pursuant to Article 8(2) of the Rules of Arbitration in force as from 1 January
        1998 (“the Rules”), that the matter would be submitted to three arbitrators;

       (2)      pursuant to Article 140) of the Rules to fix Lusaka, Zambia, as the place of
       the arbitration.

20.     Also on 12 May 2011, the Claimants served a Notice of Amendment to the Statement
of Claim.

21.   On 25 May 2011, the Claimants served the Amended Statement of Claim dated 25
May 2011.

22.   In May 2011 (the precise date in May 2011 is unclear), the Respondents served an
Amended Statement of Opposition (the “Amended Answer”).

23.   On 29 August 2011, the Claimants served a Replication (“the Reply”) and Notice of
Amendment to the Statement of Claim each dated 29 August 2011.


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    24.     On 27 September 2011, the Secretary General of the Court, pursuant to Article 9(2)
    of the Rules, confirmed Judge Meyer Joffe as co-arbitrator upon the joint nomination of the
    Claimants and confinned Mr James Prince Mutizwa as co-arbitrator upon the joint
    nomination of the Respondents.

    25.      On 27 October 2011, pursuant to Article 9(3) of the Rules, the Court appointed Mr
    Stuart Isaacs QC then of 3-4 South Square, Gray’s Inn, London WCIR SHP and now of
    Berwin Leighton Paisner LLP, Adelaide House, London Bridge, London EC4R 9HA as
    Chairman of the Tribunal, upon the proposal of the United Kingdom National Committee.

    26.     The Amended Statement of Claim was further amended on 9 November2011.

    27.     On 28 November 2011, a procedural meeting was held at the offices of Edward
    Nathan Sonnenburgs, 150 West Street, Sandown, Sandton, South Africa attended by Mr
    Lazarus SC and Mr Ian Small-Smith of the Claimants’ then attorneys, together with Mr Mark
    Robert Summers, for the Claimants; and by Mr Itayi Ndudzo and Mr Erik William Morris SC
    for the Respondents and by the Tribunal as then constituted. The Terms of Reference were
    signed at that meeting.

    28.     At the meeting, the Respondents submitted that the Tribunal should deal with the
    issue of its jurisdiction as a preliminary issue. That submission was opposed by the
    Claimants. After deliberation, the Tribunal decided that because the basis for that submission
    was inextricably linked to the issue of the Respondents’ liability, the appropriate course was
    to decide the issue ofjurisdiction at the same time as the substance of the case.

    29.      Having taken into account the parties’ respective written and oral submissions at the
    meeting, the Tribunal made Procedural Order 1 of that date which gave directions for the
    future conduct of the proceedings in accordance with the Procedural Timetable laid down by
    the Tribunal.

    30.     On 15 February 2012, the Claimants served their first memorial.

    31.     On 29 March 2012, the Respondents served their defence memorial.

    32.     On IS May 2012 and 21 June 2012, the Tribunal gave its rulings on the Claimants’
    request for document production made in accordance with paragraph 7 of Procedural Order I.

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                                                             ruling on the Respondents’ request for

    33.     On 28 May 2012, the Claimants served their reply to the defence memorial.

    34.     On 20 June 2012, the Claimants further amended the Amended Statement of Claim.

    35.      On 30 June 2012, the Tribunal made Procedural Order 2 which gave further
    directions for the future conduct of the proceedings.

    36.     On IS and 19 July 2012, a meeting of experts was held in Johannesburg attended by
    Mr Thomas Alexander Wixley, Mr Philip Le Roux and Mr Henrik Frederik Johannes Theart
    for the Claimants and Mr René Carlo Hochreiter and Mr Shepherd Alexander Gaihai for the
    Respondents at which the experts prepared ajoint report (“the Joint Report”).

    37.     On 21 July 2012, the Tribunal directed that supplementary experts’ reports be
    dispensed with.

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    38.     On 23 July 2012, a procedural meeting was held by conference call to consider the
    future conduct of the proceedings.

    39.     By a letter dated 24 July 2012 from the Claimants’ attorneys, the Claimants’ claim
    was further amended as follows:

             (I)   The principal amount of Amaplat’s main claim was reduced from
             US$127,000,000 to US$37,659,000;

             (2)    The principal amount of Amari’s             main    claim    was   reduced   from
             US$9,400,000 to US$3,900,000;

             (3)     In the event that it is found that the Platinum MOU is invalid for any reason
             or that ZMDC was entitled to terminate it, Amaplat seeks payment of the principal
             sum of US$4,498,190 and interest by way of restitutionary relief (being the amount
             invested by Amaplat in the platinum assets owned by Zimari Platinum);


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             that    In the event
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                                                      it, Amari  seeksMOU  is invalid
                                                                       payment  of thefor any reason
                                                                                       principal     or
                                                                                                 sum of
             US$578,559 and interest by way of restitutionary relief (being the amount invested by
             Amari in the platinum assets owned by Zimari Nickel).

    40.     By Procedural Order 3 dated 24 July 2012, the Tribunal gave directions relating to the
    preparation for and conduct of the hearing of the arbitration.

    41.     On 3 August 2012, after considering the parties’ written submissions, the Tribunal
    directed that written closing submissions should be exchanged simultaneously by 4pm on
    Tuesday 21 August 2012.

    42.      On 6 August 2012, the Claimants served their written opening submissions.

    43.      On 7 August 2012, the Respondents served their written opening submissions.

    44.      Pursuant to paragraph 8.1 of Procedural Order I, the hearing of the arbitration took
    place at the Taj Hotel, Cape Town, Republic of South Africa between 13 and 20 August 2012.
    The Claimants were represented by Mr Lazartis SC and Advocate Saul Miller and BVPG. The
    Respondents were represented by Mutamangira & Associates.

    45.      On 13 August 2012, the first day of the hearing, the Respondents renewed their
     submission that the Tribunal should deal with the issue ofjurisdiction as a preliminary issue,
     on the basis that the circumstances had changed since its previous ruling now that it was clear
     that certain witnesses, namely Mr Amos Midzi, the Minister of Mines and Mining
     Development at the material times, and Ms Caroline Sandura, the chairperson of ZMDC at
    the material times, would not be giving evidence at the hearing. That submission was opposed
     by the Claimants. After deliberation, the Tribunal determined that those circumstances did not
    justi5’ a departure from its previous rulin~ that the issue of jurisdiction should be decided at
    the same time as the substance of the case.

    46.       By a letter dated 15 August 2012, Amaplat revised its main claim upwards to
    US$42,882,000, based on the latest consensus forecast metal prices as at 31 July 2012 and the
    latest forecast ZARJUSD exchange rates (from the Economist Intelligence Unit).



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47.     At the hearing, oral evidence of fact was given on the Claimants’ behalf in the
following order by the following persons, each of whom had made an undated
statement (and, in the case of Mr Mubayiwa, two undated statements:

       (1)     Richard Charles Macdonald Napier, who until March 2011 was the managing
       director of Amari Resources Holdings Ltd (“Amari Resources Holdings”), a
       holding company of Amaplat and Amari, and a director of Zimari Nickel and Zimari
       Platinum. Amari Resource Holdings’ principal shareholder is Amari By!.

       (2)   Thabani Ndlovu, who between August 2005 and June 2008 was the
       Permanent Secretary at the Ministry of Mines.

       (3)     Janet Sakuerwa Mutasa, a chartered accountant and a director of JSM
       Consulting Private Ltd (“JSM”), a company that offers professional services for the
       maintenance of companies’ statutory records.

       (4)     Beauty Fiwindizi, a consultant employed by JSM since 5 May 2008.

       (5)     Mr Summers, Amari Resource Holdings’ group financial director.

       (6)     Tichaona John Muhonde, a qualified lawyer practising in Zimbabwe who was
       employed at ZMDC in January 2007 as an assistant company secretary and legal
       advisor and who, in about June 2008, was made ZMDC’s company secretary and
       legal advisor.

       (7)     Mr Mubayiwa. Prior to being sent on forced leave in July 2010, Mr
       Mubayiwa had held the post of ZMDC’s Chief Executive Officer since May 2003.
       Before that, he had been ZMDC’s internal auditor between 1985 and 1987, the mine
       secretary between 1987 and 1989 and had then held positions as the corporate
       accountant, group chief accountant and finance director/financial controller until his
       appointment as the Chief Executive Officer.

       (8)     Mr Nunn, the executive chairman and a director of Amari BVI, the ultimate
       holding company of the Amari Group.

       (9)    Mr Rhys Ralph, Mr Nunn’s personal assistant from March to October 2008 in
       Amari Services (Pty) Ltd (“Amari Services”), a company owned by Mr Nunn and
       Mr Summers through family trusts which became part of the Amari Group in 2009.

48.     The oral expert evidence followed and was given on the Claimants’ behalf by the
following persons, of whom each made an undated statement:

       (1)     Mr Theart, an economic geologist employed by SRK Consulting (South
       Africa) (Pty) Ltd (“SRK”) who co-authored a report commissioned by Zimari
       Platinum dated 6 October 2010. Mr Theart’s statement exhibited that report.

       (2)     Mr Clarkson Mafirakureva Kamurai, a consultant financial mining engineer
       and the Amari Group’s country manager in Zimbabwe between June 2008 and about
       June 2010. Mr Kamurai gave both factual and expert evidence. He made an undated
       factual statement and an undated expert’s report which was only signed on 15
       August 2012 during the course of his oral evidence

       (3)     Mr Neale Goddard, a mechanical engineer employed by DR.A Mineral
       Projects (Pty) Ltd (“DRA”) who, together with Ms Michelle Schroder, a process

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            engineer employed by DRA, prepared the DRA scoping study report on the Serui
            platinum mine dated October 2010.

            (4)      Ms Schroder, who prepared the DRA Serui Pre-feasibility Study (6/p.192~.

            (5)      Mr Le Roux, an exploration geologist who until the end of 2010 was
            employed in the Amari Group and who was involved in the exploration and pre
            feasibility studies in relation to the nickel and platinum joint ventures pursued by the
            Amari Group with ZMDC. Mr Le Roux gave both factual and expert evidence.

            (6)      Mr Wixley, a chartered accountant with extensive experience of the provision
            of auditing and consulting services. Mr Wixley made statements signed on 15 August
            2012.

    49.     The witnesses all affirmed to the truth of their evidence.

    50.      The parties were unable to agree a timetable for the oral evidence as requested by the
    Tribunal. The Tribunal afforded the Respondents considerable latitude to extend the time
    proposed by the Claimants for cross-examination by the Respondents of the Claimants’
    witnesses, so as to ensure that the Respondents had sufficient opportunity to put their case to
    those witnesses.

51.       On the morning of the second day of the hearing, 14 August 2012, following the
conclusion of Mr Summers’ cross-examination, the Respondents intimated that they intended
to make a challenge to the Tribunal under Article II of the Rules and applied for the
proceedings to be adjourned until that challenge had been determined by the Court. The
application was opposed by the Claimants. Having carefully considered the parties’
submissions on the application, the Tribunal dismissed the application, for the reasons given
at the time.2

52.     The Respondents then requested a short adjournment to consider their position and
the Tribunal granted that request. Following that adjournment, the Respondents then took the
decision to withdraw from the proceedings with immediate effect.

53.     The Tribunal, having deliberated, determined in accordance with Article 6(3) of the
Rules to continue with the proceedings in the Respondents’ absence.

54.      The hearing then continued with the evidence of Mr Muhonde and the subsequent
factual and expert witnesses referred to above. For the reason just mentioned, their evidence
was not the subject of cross-examination by the Respondents.

55.      Also, for the same reason, no witnesses were called on behalf of the Respondents. In
those circumstances, pursuant to paragraph 6 of Procedural Order 1, the witness statements
served on behalf of the Respondents were not in evidence before the Tribunal.

56.     Following their decision to withdraw from the proceedings, the Respondents
continued to be provided by the Tribunal and the Claimants with the transcripts of the
proceedings, the Claimants’ written closing subrnissions and all other documents supplied by
the Claimants to the Tribunal and were at all times invited by the Tribunal to participate in the
proceedings.

57.    At the start of the third day of the hearing, 15 August 2012, Mr Mutizwa made a
statement to the effect that he had tendered his resignation as an arbitrator and that, while he

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recognised that he remained a member of the Tribunal until such time as the Court might
accept his resignation, he did not wish to participate in the remainder of the hearing. He
therefore left the hearing.

58.     After hearing submissions from the Claimants, and having deliberated, the remaining
members of the Tribunal decided, in particular in the light of Article 12(5) of the Rules, that
the hearing should proceed.

59.     The Tribunal then proceeded to hear the evidence of Mr Theart and the following
witnesses mentioned above.

60.      Pending a decision by the Court on Mr Mutizwa’s resignation as an arbitrator, and at
his request, he continued to be provided with the transcripts of the proceedings, the
Claimants’ written closing submissions and all other documents supplied by the Claimants to
the Tribunal.

61.     In addition to the written and oral evidence adduced by the parties, the Tribunal also
considered the parties’ respective memorials and written opening submissions. Following the
conclusion of the evidence, on 20 August 2012 the Claimants served written closing
submissions and the Tribunal heard oral closing submissions from the Claimants.

62.      At the Tribunal’s request, the Claimants provided the Respondents with a copy of
their written closing submissions and the transcript of the hearing on 20 August 2012.

63.     The Respondents were invited by the Tribunal to respond to those submissions by 10
September 2012, without prejudice to their challenge to the Tribunal’s jurisdiction and to the
Tribunal itself but they did not do so.

64.     On 28 August 2012, the Claimants served an updated schedule of costs which took
into account certain costs and expenses not included in the schedule of costs given to the
Tribunal on 20 August 2012. On the same date, the Tribunal invited the Respondents to
comment on the Claimants’ updated schedule of costs. However, the Respondents did not do
so.

65.     On 27 September 2012, the Court decided:

        (I)    pursuant to Article 120) of the Rules to accept the resignation of Mr
        Mutizwa;

        (2)     pursuant to Article 11(3) of the Rules, to reject the challenges to Judge Joffe
        and Mr Isaacs QC;

        (3)    to invite the Respondents to nominate a co-arbitrator in replacement of Mr
        Mutizwa within 15 days from 28 September 2012.

66.      The Respondents failed to nominate a co-arbitrator in replacement of Mr Mutizwa
within that period, that is, by 12 October 2012.

67.      On 15 October 2012, in proceedings brought against the Claimants, Mr Isaacs QC
and Judge Joffe, the Respondents obtained ex pane from the Zambian High Court an order
restraining Mr Isaacs QC and Judge Joffe from proceeding with the arbitration until further
order.

68.    On or about 7 November 2012, the Claimants applied inter parSes to the Zambian
High Court to discharge the a parse order made on 15 October 2012.

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69.      On 31 January 2013, pursuant to Article 12(4) of the Rules, the Court appointed
directly as co-arbitrator on behalf of Respondents Mr Chikwendu Madumere of Madumere &
Madumere, 79 Adetokumbo Ademola Crescent Suite 5B, Wuse 11, Abuja, Nigeria (tel: +234-
8033303677; email: cm(~madumereandco.com).

70.      On 10 March 2013, the newly constituted Tribunal, after inviting the parties’
submissions, decided to stay the arbitration proceedings until whichever was the earlier of(a)
two weeks after the judgment of the Zambian High Court was given on the Claimants’
application to discharge the expcsrre order and (b) 11 May 2013, at which time the Tribunal
would review the position.

71.      On 8 May 2013, the Tribunal, having noted with regret that the Zambian Court had
yet to give judgment in respect of the Claimants’ application to discharge the expane order,
decided to extend the stay until whichever was the earlier of (a) two weeks after the judgment
of the Zambian High Court was given on that application and (b) II July 2013, after which
the Tribunal would review the position.

72.    On 21 June 2013, Judge Joffe tendered his resignation as the co-arbitrator on the
Claimants’ behalf.

73.     On 4 July 2013, the Court decided pursuant to Article 120) of the Rules to accept
Judge Joffe’s resignation.

74.     On II July 2013, the stay of the proceedings came to an end, without the Zambian
High Court having given judgment on the Claimants’ application to discharge the ex parKe
order. At the time of this Final Award, the Zambian High Court has, so far as the Tribunal is
aware, still not given judgment on the Claimants’ application to discharge the exparre order.

75.     On 12 July 2013, pursuant to Article 9(2) of the Rules, the Secretary General
confirmed Professor Douglas Jones of Clayton Ut; Level 15, 1 Bligh Street, Sydney NSW
2000, Australia (tel: +61 2 9353 4120; fax +61 2 8220 6700; email: dionesWclavtonurz.com)
as co-arbitrator in replacement of Mr Joffe, upon the Claimants’ joint nomination.

76.     On 14 July 2013, the Respondents pursuant to Article 14(1) of the Rules challenged
the appointment of Professor Jones.

77.     On 25 July 2013, the Court decided pursuant to Article 11(3) of the Rules to reject the
challenge to Professor Jones as co-arbitrator and also decided pursuant to Article 12(2) of the
Rules not to initiate replacement proceedings against Mr Madumere.

78.     On 27 July 2013, the Tribunal invited submissions from the parties on the future
conduct of the proceedings.

79.     On 24 August 2013, following consideration of written submissions from the parties
contained in a letter dated 1 August 2013 sent on the Claimants’ behalf and an email dated 29
July 2013 sent on the Respondents’ behalf; the Tribunal informed the parties inter alia that:

        (I)     the arbitration proceedings would continue;

        (2)      its provisional view was that the proceedings should be conducted on the
        basis of the existing record of the proceedings at the August 2012 hearing and
        without the need for the oral evidence given at that hearing to be reheard but that it
        wished to have the benefit of further oral submissions from the parties’ counsel, in
        particular so that those members of the Tribunal who were not pres t the re ous
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        hearing would have the opportunity to clarif~’ directly with the parties any matters
        relating to the evidence given and legal submissions made and to afford the
        Respondents the opportunity to make submissions on the substance of the case;

        (3)     it required the Claimants to prepare a full hearing bundle for the hearing;

        (4)     it proposed to hold a hearing in London on 4 and 5 November 2013 and
        requested the parties to confirm their availability for that hearing and, if not
        convenient to them, to propose alternative dates/venue for the hearing.

The Tribunal requested the parties to provide their comments on its proposals by 2 September
2013.

80.      By a letter dated 27 August 2013, the Respondents stated that they intended to take
no part in the proceedings.

81.     By a letter dated 28 August 2013, the Claimants confirmed their availability for a
hearing in London on 4 and 5 November 2013 and that they would provide a full hearing
bundle for the hearing to the Respondents, should they require it. On the same day, the
Tribunal directed that the Claimants should provide a full hearing bundle to the Respondents
in any event.

82.      On 4 September 2013, the Tribunal gave directions in relation to the hearing in
London on 4 and 5 November 2013. In particular, the Tribunal requested that, as the hearing,
the parties should identilS’ in their submissions the materials in the record of the previous
hearing on the basis of which the Tribunal was being ask to determine the case; and update
the Tribunal on matters since the August 2012 hearing and on any aspects of their respective
cases which required to be updated.

83.      On 30 October 2013, the Tribunal confirmed that it looked forward to meeting with
the parties at the hearing fixed to start on 4 November 2013. The Claimants confirmed their
participation in the proceedings; the Respondents confirmed that their position to the effect
that they would be taking no part in the proceedings because they regarded them as a nullity
remained unchanged.

84.      The hearing of the arbitration took place on 4 November 2013 at the International
Dispute Resolution Centre, 70 Fleet Street, London EC4Y IEU. The Claimants were
represented by Mr Lazarus SC and Mr Miller. Mr Nunn was also present. The Respondents
did not appear and were not represented. The hearing was transcribed and a copy of the
transcript was emai led to the Respondents by the Tribunal the same evening.

85.    Following the hearing, and as directed by the Tribunal at the hearing, on 18
November 2013 the Claimants provided to the Tribunal and the Respondents their written
submissions in response to queries from the Tribunal during the hearing and an updated
summary of legal expenses.

86.     On the same day, the Tribunal afforded the Respondents the opportunity by 3
December to respond to the materials provided by the Claimants. However, no response was
received from the Respondents.

87.     On 4 December 2013, pursuant to Article 22 of the Rules, the Tribunal declared the
proceedings closed. On 12 December 2013, the Tribunal reopened the proceedings for
the limited purpose of address the specific issue whether the Claimants, as they
submitted in their letter of 12 December 2013, should be entitled to reco er t e
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    additional sum of US$45,000 in respect of the final tranche of the advance of costs
    which the Respondents had failed to pay and which the Claimants have paid in
    substitution; and requested the Respondents to provide any reply submissions by no
    later than midday Johannesburg time on 16 December 2013. No such submissions
    were received. On 16 December 2013, the Tribunal again declared the proceedings
    closed.

88.     The time limit for rendering the Final Award is 28 February 2014, in accordance with
the Court’s decision on 12 September 2013 pursuant to Article 24(2) of the Rules to extend
the time limit to that date.

                          V. THE TRIBUNAL’S JURISDICTION
89.     At all material times, the Respondents maintained that the Tribunal lacks jurisdiction
to determine the dispute between the parties.

90.      The grounds for the Respondents’ submission that the Tribunal lacks substantive
jurisdiction are that:

            (I)      The Nickel MOld lapsed on 31 December 2007 pursuant to Article 9 thereof
            and became of no force or effect; and the arbitration provisions in Article II thereof
            are an integral part of the Nickel MOld which also lapsed and consequently became
            of no force or effect.3

            (2)      The MOlds are invalid and tainted with illegality under the laws of
            Zimbabwe for non-compliance with the mandatory provisions of the Act which
            required that any agreement entered into by ZMDC must be approved by the Minister
            of Mines and Mining Development (“the Minister”). To give effect to the arbitration
            clause of an agreement tainted with illegality is to grant specific performance of the
            illegal agreement and it is contrary to the public policy of the Republic of Zimbabwe
            effectively to grant such specific performance.4

            (3)     Clause 5 of the Deed of Novation confers exclusivejurisdiction on the courts
            of England and Wales in respect of disputes or claims arising out of or in connection
            with the subject matter of the Deed of Novation.5

91.     For the reasons set out below in Section VI, which deals with liability, and for those
given at the time of the previous hearing,6 the Tribunal rejects the Respondents’ submission
and determines that it has substantive jurisdiction to determine the present dispute.

                                            VI. LIABILITY
92.         The Respondents disputed liability under the MOlds on seven grounds:

            (1)      the Claimants are not shareholders in Zimari Nickel and Zimari Platinum;

            (2)      the absence of ZMDC board approval for the conclusion of the MOUs;

    Amended Answer §9.
4Thid., §10.

    Transcript 1318/12   p.30 line 14 to p.31 line 16.
6   Ibid., p.38 line 12 to p.39 line 5.

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         (3)      the absence of ministerial approval for the conclusion of the MOUs;

         (4)      the failure to comply with the condition precedent in Article 9 of the Nickel
         MOU;
         (5)      illegality;

         (6)      the absence of any joint venture agreement;

         (7)      the MOUs were validly cancelled.

93.     The Claimants submitted that the MOUs remain valid and binding.7 Alternatively,
they submitted that the Respondents have waived any right that they might otherwise have
had or else are estopped from contending that the MOUs are not valid and binding as, with
knowledge of the purported invalidities on which they now rely, they gave effect to and
implemented the MOUs in various respects.8

94.      It is convenient to consider each of those grounds in turn.

       1. The Claimants are not shareholders in Zimari Nickel and Zimari Platinum

95.     At the outset, it is necessary to determine whether the Claimants are shareholders in
Zirnari Nickel and Zimari Platinum since the Respondents disputed that they are.

96.      The Claimants rely on the respective share certificates and the share register
documentation as establishing their respective shareholdings. They point to the fact that two
of the four active directors of Zimari Platinum were appointed by Amaplat; and that three of
the five active directors of Zimari Nickel were appointed by Amari. They rely on the evidence
of Ms Mutasa, who describes in detail in her statement how the Claimants came to acquire
their respective shareholdings in Zimari Nickel and Zimari Platinum. In particular, she
describes why all the documents relating to those companies of which the authenticity is
challenged by the Respondents are in fact authentic. The also rely on the evidence of Ms
Hwindizi.

97.      The Respondents’ submission, set out in paragraph 33 of the Amended Answer, is
that no allotment of shares was ever made and that, in consequence, only the initial
subscribers hold shares. The basis for that submission is to be found in affidavits dated 21
January 2011 and 3 February 2011 of Tinashe Collins Chiparo, ZMDC’s company secretary
and legal advisor, which were served on behalf of the Respondents. Although, for the reason
already mentioned, those affidavits were not in evidence before the Tribunal, Mr Chiparo
deposes to the fact that he was advised by JSM that there never was any allotment of shares
and that the only registered shareholders are the initial subscribers. He alleges that the register
of allotments for the two companies and the information recorded in them and the relevant
share certificates are fabricated. The Respondents submitted that without the production of
public documents bearing the seal of the Registrar of Companies the Claimants cannot
establish their status as shareholders and that their claims must therefore fail.

98.     When the Respondents’ allegations were put to Ms Mutasa in her oral evidence in
chief, she took issue with them. She stated that the share certificates were issued in the

 Reply §15.

 Ibid., §4,5 and 16.
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Claimants’ favour and in ZMDC’s favour were issued “in line with the Zimbabwean
Investment Licences that were presented to us”9 and denied that the share register was the
product of any fraudulent conspiracy between the Amari Group and JSM, stating that “we
simply prepared the share registers at each point that the share register had to be updated
so we didn ‘t like prepare it in retrospect, we preçared it as we prepared returns that had to
be submitted to the Registi-ar of Companies”. 0 Her evidence to the above effect was
maintained in cross-examination.

99.       In her witness statement, Ms Hwindizi states that she told Mr Chiparo that the
Claimants had not been allotted shares in Zimari Nickel and Zimari Platinum because the
shares had been transferred to them (and to ZMDC). She denied having ever advised him that
the initial subscribers were the only, or remaining shareholders in those companies. She also
confirmed the authenticity of all the documents relating to them. In her oral evidence in chief;
she elaborated on the circumstances of Mr Chiparo’s inspection of the companies’ files which
were under her custody and control. She confirmed that, contrary to Mr Chiparo’s position,
the documents were not missing from the companies’ files at the time of the inspection and
only subsequently created.’’ She repeated that evidence in ~

                           Tribunal’s discussion and conclusion
 100.    Based on the evidence of Ms Mutasa and Ms Hwindizi, which the Tribunal accepts,
the Tribunal finds by a majority that the share certificates and the share registration
documentation adduced on the Claimants’ behalf are authentic and establish the Claimants’
respective shareholdings in Zimari Nickel and Zimari Platinum respectively. The evidence
contradicts the Respondents’ position that only the initial subscribers for the shares in those
companies hold shares.

 101.    There is no basis for the Respondents’ submission that the documentation was
fabricated a most serious allegation which would place JSM as a co-conspirator with the
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Claimants in an attempt to mislead the Tribunal. In the light of the evidence, the Tribunal has
no hesitation in rejecting it. The submission is based on Mr Chiparo’s position that the
documentation in question must have been created after the event since it was not to be found
when he inspected the companies’ files. However, the Tribunal accepts the evidence that the
documentation was in the companies’ files at the time of his inspection and so finds.
Therefore, there is no factual basis for the Respondents’ submission.

102.    The Tribunal also rejects the Respondents’ submission that the Claimants’ status as
shareholders cannot be established without the production of public documents bearing the
seal of the Registrar of Companies. No authority was put forward in support of that
submission and the available evidence referred to above is, in the Tribunal’s view, conclusive.

 103.    However, a minority of the Tribunal does not accept Ms Mutasa’s and Ms Hwindizi’s
evidence as establishing that the share certificates tendered before the Tribunal are indeed
those of the two companies or that the requirements of the Zimbabwe Companies Act relating
to the issue of share certificates have been fulfilled. The minority therefore considers that the
Claimants have not, on the evidence, proved their respective shareholdings in Zimari Nickel
and Zimari Platinum.


9Transcript 13/8/12 p. 150 lines 8-Il.
‘°   Transcript 13)8/12 p. 150 line 12 top. 151 line I.

“Ibid., p. 173 line 2 top. 176 line 24.
12   Ibid., p. 184 line 2 top. 185 line 20; p.194 lines 17-25.        CERTIFIE   I   EC        THE   INAL HEREOF


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104.   The Tribunal therefore concludes by a majority that Amari holds 55% of the shares in
Zimari Nickel; and that Amaplat holds 50% of the shares in Zimari Platinum.

              2. Absence of ZMDC board approval for the conclusion of the MOUs
105.    The Respondents submitted that the ZMDC board did not approve the conclusion of
the MOUs. The basis for that submission is to be found in Mr Chiparo’s affidavit dated 21
January 2011, where he deposes that he did not find amongst the board minutes for the years
2006 to 2010 any board resolution authorising the signing of the MOUs.

106.    However, the Claimants rely on the minutes of the relevant ZMDC board meetings
produced by them and the evidence of Mr Mubayiwa and Mr Muhonde to demonstrate that
board approval was given for the conclusion by ZMDC of the MOUs.

107.     On 1 November 2007, the ZMDC board resolved to conclude the Nickel MOU. The
minutes of the board meeting on that date, at which Mr Mubayiwa was present and Mr
Muhonde was in attendance, record a discussion about the Nickel MOU which concluded in a
resolution:

        “THAT the MOU be and is hereby approved subject to management renegotiating the
        shareholding structure giving ZMDC a minimum of 40% and a maximum of 50%”

It is common ground that ZMDC did acquire a 45% shareholding.

 108.   On 25 July 2008, the ZMDC board resolved, at an extraordinary meeting called for
the purpose, to conclude the Platinum MOU. The minutes of the board meeting on that date,
at which again Mr Mubayiwa was present and Mr Muhonde was in attendance, record a
discussion about the Platinum MOU after which the board resolved that:

        “1.     ...authority for ZMDC to enter into a Platinum Joint Venture Agreement
                with Ainaplat be and is hereby ranted.

        2.      The Chief Executive Officer, Mr. Dominic L Mubcryiwa be and is hereby
                authorized to negotiate, conclude and sign the said Joint Venture AgreemenL

 109.    In this context, on 15 May 2012 the Tribunal inter alia ordered the production by
ZMDC of all agendas and minutes of ZMDC’s board meetings between 1 January 2006 and
31 December 2010. On 21 June 2012, the Tribunal confirmed its previous order, except in
relation to the board minutes already exhibited to Mr Muhonda’s statement. On 27 June 2012,
the Respondents stated that there were no further minutes capable of being produced pursuant
to the Tribunal’s order.

110.    Mr Mubayiwa was the person responsible at ZMDC for overseeing all of its joint
ventures. As the minutes show, he attended the relevant board meetings. In his first witness
statement, Mr Mubayiwa states that, following the grant of ministerial approval:

        “15.    ...the board resolved to conclude the Nickel MOU   and authorised me to
                                                                   ...

               execute the Nickel MOU on its ZMDC’s] beha~f
        16.    1 signed the Nickel MOU on 22 November 2007 and Nunn signed the MOU
               on behaVofAniari Holdings Limited on the same date.

        17.    The approval required by the board of the ZMDC as contemplated in article
               9.1.1 ofthe Nickel MOU was obtained prior to 31 December 2007.

        18.    The ZMDC board approved the Platinum MOU in the same manner as it
               approved the Nickel MOU The following occurred:
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                     1&5      After having received the Minister ~s approval as required by law, the
                              ZMDC board resolved to conclude the Platinum MOU and
                              authorised me to do so on beha if of the ZMDC.

            19.      On 25 July 20081 signed the Platinum MOU on behc4f of the ZMDC and
                     Nunn signed this agreement on beha(fofAmaplat

 Ill.       In his oral evidence, Mr Mubayiwa confirmed that evidence.’3

 112.    Mr Muhonde was also in attendance at the relevant board meetings. In his witness
statement, he refers to the fact that, like Mr Muhonda, he was sent on forced leave from
ZMDC in July 2010 and subsequently had the laptop belonging to ZMDC which he had used
while working there removed from his home by a security officer. He says that when the
laptop was returned to him, the contents of the hard drive had been wiped but that he had
previously backed up its contents to an external hard drive which he had at home. It was from
that external hard drive that he was able to produce copies of the agenda for the ZMDC board
meeting on 25 July 2008 and the minutes of the ZMDC board meetings that were in evidence
before the Tribunal, together with other documents sent to or by him or on which he had
worked.

113.    Mr Muhonde substantially corroborated Mr Mubayiwa’s evidence. In particular, with
regard to paragraphs 5 and 6 of the minutes of the I November 2007 board meeting
concerning the Nickel MOU, he says in his witness statement:

            “22.     ...The ZMDC board expressed their reservations regarding Morgan Hill
                     obtaining a stake in the venture, which did not appear appropriate to the
                     ZMDC board. The ZMDC board approved the conclusion of the MOU
                     subject to management renegotiating the shareholding structure in terms of
                     which the ZMDC obtained a minimum of 40% shareholding and a maximum
                     45% shareholding in the joint venture entity.

            23.      Subsequent to this meeting, Mubayiwa told ~ne that the ZMDC c shareholding
                     had to be 45%.

            24.     1 made the changes to the draft MOU presented to the board I removed the
                    references to Morgan Hill and changed the shareholding that ZMDC was to
                    receive to 45%, with Amari to receive the remaining 55%.

            25.     Iwrote a letter to Cockhead [Amari’s in-house legal representative] in which
                    I informed her of the outcome of the ZMDC board meeting on 1 November
                    2001”

114.    With regard to the 25 July 2008 board meeting concerning the Platinum MOU, Mr
Muhone produced with his witness statement the agenda for the meeting and the minutes of it
which he took. His evidence, in paragraph 35 of his witness statement, is that, as set out in the
minutes, the board resolved to approve the conclusion of the Platinum MOU and authorised
Mr Mubayiwa to conclude it on ZMDC’s behalf.

115.     Mr Muhone confirmed and elaborated on that evidence in his oral evidence. In
particular, he described the process for minute taking; the procedure once board minutes were

‘~   Transcript 14/S/Il p.312 line 6 to p.313 line II.
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signed, which included the pasting of a copy of the signed minutes into the minute book,
which was left behind by him at ZMDC when he was suspended from his employment; and
the documents stored on and deleted from his laptop and the back up on his external hard
drive. In particular, he confirmed that he printed the minutes of the relevant board meetings
from his back up and was satisfied that they were an accurate record of what took place at
those meetings. 4

116.    There is other evidence, for example in Mr Summers’ and Mr Muhonde’s evidence,
that the ZMDC board approved the conclusion of the MOUs. By way of illustration, the
Nickel MOU was referred to in a number of subsequent board meetings on 22 November
2007, 7 March 2008, 13 June 2008 and 11 September 2008. Also, the ZMDC board meeting
at which the Platinum MOU was approved was followed by a signing ceremony and lunch at
which the board and representatives of the Amari Group were present.

                          Tribunal’s discussion and conclusion
117.    The Tribunal finds Mr Mubayiwa’s and Mr Muhonde’s evidence compelling and
accepts it.

118.    The Tribunal prefers that evidence over Mr Chiparo’s position that no board minutes
authorising the conclusion of the MOUs existed because none could be found in the
Ministry’s records. Having wiped Mr Muhonde’s laptop and having taken the position in
these proceedings that there was no relevant documentation to be produced, the Respondents
did not anticipate that Mr Muhonde would have been able to print copies of the relevant
documentation from the documents backed up on his external hard drive.

 119.    There is no reason to conclude that Mr Mubayiwa and Mr Muhonde were not telling
the truth and they are to be commended for having done so in the circumstances of this case.
Their evidence is consistent with ZMDC’s conduct following the conclusion of the MOUs
referred to above, which is documented and the evidence about which the Tribunal accepts.

120.    The Tribunal also cannot ignore that Mr Chiparo’s evidence in the Zimbabwe High
Court Proceedings involved repeated and, in the Tribunal’s view, unconvincing denials of the
existence of documents which plainly do exist and challenges to the authenticity of
documentation, the existence of which the Respondents are unable to deny.

121.        Therefore, the Tribunal finds that ZMDC board approval for the MOUs was given.

 122.     It is unnecessary for the Tribunal to rest its conclusion on any adverse inference from
the Respondents’ failure to produce the originals of the relevant board minutes. The Tribunal
is satisfied on the materials which are before it that ZMDC board approval was given.

123.   In the light of the Tribunal’s finding that ZMDC board approval was given, it is also
unnecessary to consider the Claimants’ alternative arguments based on estoppel and waiver.

                      3. Absence of ministerial approval for the conclusion of the MOUs

 124.   Section 22 of the Act provides that “Subject to this Act, the Corporation shall, for the
better exercise of its frnctions, have power to do or cause to be done, either by itself or
through its agents, all or any of the things spec~ed in the Schedule, either absolutely or
conditionally and either solely or jointly with others.” The Schedule to the Act sets out
ZMDC’s powers and identifies which of those powers require the approval of the Minister.
The Schedule confers on ZMDC power inter alia:


‘~   Ibid., p. 274 line 9 et seq.                                   CERTIFIEI                        HEREOF




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            “20.    With the approval of the Minister, to promote, establish or acquire
                    companies or other undertakings an4 in connexion with any such company
                    or other undertaking-
                    (a)     to manage it and act as secretary thereof

                    (b)     to appoint any person to act on behaV of the Corporation as a
                            director thereof or in any other capacity in relation thereto.

           2].      With the approval of the Minister, to acquire an interest in, to provide any
                    underwriting or otherwise to assist in the subscription of capital or to
                    guarantee the obligations of a company, whether promoted by the
                    Corporation or otherwise, engaged in or proposing to establish, expand or
                    modernise any undertaking relating to the production, refining, smelting or
                    processing of minerals.”

125.    The Respondents submitted that there was no ministerial approval for the conclusion
by ZMDC of the MOUs. In paragraph 27 of the Amended Answer, it is stated that ZMDC
“has had occasion to enquire from the Minister of Mines and Mining Development whether
he, at any time, approved the acquisition of shares in the Respondent companies by the
Corporation. The Corporation has established that no such approval was given by the
Minister. Written confirmation of this fact, from the Minister ofMines, will be furnished’. The
Respondents submitted that ZMDC lacked the capacity to enter into the MOUs, which are
accordingly null and void; and that the MOUs are tainted with illegality and the Claimants
cannot seek specific performance thereof)5

 126.   The basis for the Respondents’ submission is to be found in an affidavit dated 31
January 2011 of Mr Chiparo which again, for the reason already mentioned, was not in
evidence before the Tribunal, and his affidavit dated 3 February 2011. They disclose that the
basis for the Respondents’ submission is a letter received from the Minister confirming that
the MOUs were not approved.

 127.    The Claimants submitted that the Minister’s approval was obtained; and that the
Respondents are in any event estopped from contending that such approval was not
obtained.’6 The Claimants did not pursue at the hearing on 4 November 2013 an argument
which they originally advanced in paragraphs 75 and 76 of their written closing submissions
that the Minister’s approval was not required and were prepared to proceed on the assumption
that such approval was required.’7

128.   The Claimants rely on the evidence of Mr Mubayiwa to demonstrate that shareholder
approval was given for the conclusion by ZMDC of the MOUs.

129.       In his first witness statement, Mr Mubayiwa states:

           “14.     In accordance with the standard procedures followed at the ZMDC relating
                    to the conclusion offoint venture agreements which I outlined previously, the
                    board authorised Caroline S’andura (‘Sandura 9, the Chairperson of the
                    ZMDC, to seek permission of the Minister ofMines and Mining Development,
                    Amos Midzi at that time, for the ZMDC to conclude the Nickel MOU and
                    hence for the ZMDC to acquire shares in the intendedjoint venture company.

‘~   Reply §25 to 28.

‘6Ibid,~l2tol4.                                                                ~               A
‘7Transcript4/1I/l3 p.37 lines li-li.                                 ~


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          11      The Minister ranted the ZMDC the required approvaL I was informed of
                  this decision in a letter from the Minister. This letter was sent to me by
                  Thabani Ndlovu (‘Ndlovu 2’ the then Permanent Secretary in the Ministry of
                  Mines and Mining Development on behc4f ofthe Minister.


          18.     The ZMDC board approved the Platinum MOU in the same manner as it
                  approved the Nickel MOU The following occurred:



                  I& 3     The ZMDC board authorised Sandura to seek the approval of the
                           Minister to conclude the Platinum MOU and hence to acquire shares
                           in the intendedjoint venture vehicle.

                  1& 4     The Minister ranted the ZMDC the required approvaL I was
                           informed of this decision in a letter from the Minister. This letter was
                           sent to me by Ndlovu, the then Permanent Secretary in the Ministry
                           of Mines and Mining Development...    .“




130.     In his oral evidence, Mr Mubayiwa confirmed that evidence.’8

131.     Mr Muhonde substantially corroborated Mr Mutayiwa’s evidence.

 132.    The Claimants also rely in this context on Mr Ndlovu’s evidence. In paragraph 3 of
his affidavit in the Zimbabwe High Court proceedings, he states in terms that Mr Midzi
“approved in his official capacity the two MOUs in ternis of the law and instructed me to
communicate the approvals in writing to ZMDC, which I did and such written communication
is in the relevant files at the Ministry”. He therefore expresses surprise at the statement in a
letter dated 28 January 2011 from the Acting Secretary of Mines that no record had been
found in the Ministry of Mines and Mining Development of any such approvals and that
consequently the Ministry’s view was that such approval was never granted. According to Mr
Nd lovu, “at the time I lefi the Ministry, the approvals were certainly in the ZMDC file. I
would expect these files to be still at the Ministry. If nothing unprocedural and irregular
happened to those files they should certainly be at the Ministry. Be that as it may, I do
confirm again that the then Minister approved the MOUs in terms of the law and accordingly
the conclusion reached by the acting Permanent Secretary is actually incorrect I confirm
also that the written approvals were sent to ZMDC ~ Chief Executive Officer, Mr Dominic
Mubaw(ya at the relevant time and he did receive them”.

133.     In his oral evidence, Mr Ndlovu stated, in relation to the Nickel MOU, that:

         “The Minister told me to write a letter to the ZMDC and I wrote a letter to the effect
         that the Minister had approved the MOU for the joint venture between ZMDC and
         Aniari, and I did that and sent the letter to ZMDC and then gave a copy to the
         Minister and kept another copy in my office      in the file that was marked ZMDC
                                                          ...

         Correspondence       What I wrote in the letter was to the effect that in terms of the
         ZMDC Charter [the Act], the Minister had approved of the joint venture between
         ZMDC and A marL And therefore they could proceed and put all the processes in
         place.”9

“Transcript 14/8/12 p. 312 line 6 to p.313 line II.

“Transcript 13/8/12 p. 112 line 9 top. 114 line 15.
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 He further stated that the same was done in relation to the Platinum MOU.2° in cross-
 examination, he also referred to an affidavit by Mr Mutzi made in the Zimbabwe High Court
 Proceedings, of which a copy was in the hearing bundles in the present proceedings, in which
 Mr Mutzi himself expressly confirmed that he approved the MOUs.

                          Tribunal’s discussion and conclusion
 134.   The Tribunal again finds the evidence of Mr Mubayiwa and Mr Muhonde and that of
 Mr Ndlovu compelling and accepts it.

  135.    The Tribunal prefers that evidence over Mr Chiparo’s position which, in the light of
 the other evidence, is not credible. The Tribunal is unable to accept that the documentation
 relating to the grant of ministerial approval for the MOUs is not, or was not at one time,
 retained at the Ministry.

136.     The Respondents sought to rely on the fact that the Claimants have adduced no
evidence from Mr Mitzi that he authorised the conclusion of the MOUs. It is perhaps
unsurprising that Mr Mitzi did not give evidence before the Tribunal on the Claimants’ behalf
but it does not follow that, in his absence and that of Ms Sandura as witnesses, the Claimants
are incapable of establishing that ministerial approval was given on the basis of the evidence
referred to above.

 137.    The Respondents submitted that the evidence relied on by the Claimants was
inadmissible hearsay in terms of the Zimbabwean Civil Evidence Act (“the CEA”). Section
27 is concerned with first hand hearsay evidence. Under section 270) of the CEA, subject to
the provisions of the section evidence of a statement made by any person, whether orally or in
writing or otherwise, is admissible in civil proceedings as evidence of any fact mentioned in
the statement if direct oral evidence by that person of any fact would be admissible in those
proceedings. Under section 27(3)(a) of the CEA, if such a statement is not contained in a
document, no evidence of it is admissible unless given by a person who saw, heard or
otherwise perceived the statement being made; under section 27(3)(b), if such a statement is
contained in a document, no evidence of it is admissible except the document itself or a copy
of the document if such copy is itself admissible. Under section 27(4) of the CEA, in
estimating the weight, if any, to be given to evidence of such a statement, the court must have
regard to all the circumstances affecting its accuracy and, in particular, to whether or not the
statement was made at a time when the facts contained in it were or may reasonably be
supposed to have been fresh in the mind of the person who made the statement and whether or
not that person had any incentive or might have been affected by the circumstances, to
conceal or misrepresent any fact. Under section 27(5) of the CEA, the section is not to be
construed as limiting any provision of the CEA or any other law providing for the
admissibility of statements made by persons who are not called as witnesses to testi& to such
statements.

 138.     Assuming for present purposes in the Respondents’ favour that the CEA has any
application to the present arbitration proceedings, the Tribunal is satisfied that the evidence
relied on by the Claimants is admissible under section 27 of the CEA. Mr Ndlovu is a person
who heard Mr Midzi approve the MOUs and instruct Mr Ndlovu to communicate those
approvals in writing to ZMDC. Section 27(3)(a) of the CEA therefore applies. Mr Ndlovu’s
evidence that he did comply with the Minister’s instructions by writing to the ZMDC in the
terms stated and that the letters were in the ZMDC file at the Ministry at the time he left is
direct evidence by Mr Ndlovu and not therefore evidence to which section 27 of the CEA
applies at all. The same is true in respect of Mr Mubayiwa’s evidence that he received the
letters from Mr Ndlovu.


20   Ibid., p. 114 line 16 top. 114 line 13.                        CERT~~t(j)(IJE           m&~’~3lNAL HEREOF



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 139.   The Tribunal is also satisfied that full weight should be attributed to the hearsay
evidence of Mr Ndlovu. There is no reason to doubt its accuracy. In particular, applying the
considerations expressly referred to in section 27(4) of the CEA, the statement was plainly
made at a time when the facts contained in it were fresh in the Minister’s mind and the
Minister had no incentive or other reason to conceal or misrepresent any fact. Mr Ndlovu was,
as the permanent secretary, the person whose job it was to communicate with third parties on
the Minister’s behalf. Also, Mr Midzi had, in earlier proceedings in the Zimbabwe High
Court, made an affidavit in which he had expressly confirmed that he authorised the
conclusion of the MOUs.

 140.     The Tribunal must, however, express its view that the CEA has no application to the
present arbitration proceedings. Under section 20) of the CEA itself, “civil proceedings” are
defined to mean “proceedings which are not criminal in nature and which are before the
Supreme Court, the High Court, a magistrates court or any other court to which the strict
rules of evidence apply”. The definition of civil proceedings therefore does not include the
present arbitration proceedings. Also, section 27(4) of the CEA is concerned with the weight
to be afforded by the “court” to hearsay evidence falling within section 27(1). Although the
expression “court” is defined in section 20) of the CEA to include a tribunal, on the proper
construction of those provisions the Tribunal considers that the expression “tribunal” does not
extend to an arbitral tribunal, in particular one dealing with an intemational commercial
arbitration such as the present arbitration. Further, even if; contrary to that view, the Tribunal
were a “court’, it would not be one to which the strict rules of evidence apply, for the reason
mentioned next.

 141.     In accordance with paragraph 5 of Procedural Order I, the Tribunal adopted the IBA
Rules on the Taking of Evidence in International Commercial Arbitration 2010 (“the EBA
Rules”) as general guidelines in this arbitration. Under Article 9(1) of the ISA Rules, it is for
the Tribunal to determine inter alia the admissibility and weight of evidence, unconstrained
by the procedures which may govern domestic litigation in any jurisdiction. Also, paragraph
7.10 of the Terms of Reference provides inter alia that where the Rules are silent, the
applicable procedural rules to be followed in these proceedings shall be such rules as may be
agreed on from time to time by and between the Tribunal and the parties and, failing such
agreement, as may be determined by the Tribunal. It follows from those provisions that the
strict rules of evidence and the CEA do not apply to the present proceedings.

142.    In short, whether in application of the CEA or by virtue of its own powers under the
IBA Rules and pursuant to the Terms of Reference, the Tribunal determines that the hearsay
evidence relied on by the Claimants is admissible in these proceedings and that fill weight
should be given to it.

143.    Therefore, the Tribunal finds that the Minister’s approval for the MOlds was given.

 144.    It is unnecessary for the Tribunal to rest its conclusion on any adverse inference from
the absence of the letters written by Mr Ndlovu on the Minister’s instructions. The Tribunal is
satisfied on the materials which are before it that ministerial approval was given.

145.   In the light of the Tribunal’s finding that ministerial approval was given, it is also
unnecessary to consider the Claimants’ alternative arguments based on estoppel and waiver.

        4. Failure to comply with the condition precedent in Article 9 of the Nickel MOU
146.    The Nickel MOU provided inter alia:



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            “8.    DATE OF COMMENCEMENTAND DURATION
                   This MOU shall commence on the Effective Date and supercedes [sic] any
                   other prior documents relating to the matters speq/ied herein and shall,
                   subject to the provisions of this MOt*

            &1     be binding on the Parties upon signature hereof by each of the Parties; and

            8.2    be superseded by comprehensive subscription and shareholder/joint venture
                   agreements which shall incorporate the terms and conditions contained
                   herein.

            9.     CONDITION PRECEDENT

            9.1    This MOU excluding 9 and 11, is subject to fu(/ilment or waiver of the
                  following condition precedent;

                   9.1.1   the Parties obtaining necessary board and/or shareholder approval
                           to this MOU

           9.2    The parties shall use their best endeavours to fulfil or waive the above
                  conditions precedent on or before 31 December 2007 in full, or such later
                  date as the Parties may agree in writing, failing which the MOU will lapse
                  and be of no force and effect and no Party shall have a claim against the
                  other as a result of the failure ofsuch condition precedent.”

  147.    The Respondents submitted, in reliance on Mr Chiparo’s affidavit evidence given in
 the Zimbabwe High Court proceedings, that the condition precedent in Article 9 was not
 fulfilled since the necessary board and shareholder written approval on or before 31
 December 2007 was not secured for it. Consequently, the Effective Date of the Nickel MOU
 never arose and the Nickel MOU never became operative or else lapsed after that date.2’ By
 Article I of the Nickel MOU, the “Effective Date” was defined to mean “3 business days afier
fu(ftlment or waiver of the condition precedent as contemplated in 9”.

148.    The Respondents also submitted that the Deed of Novation did not change that
position since it purported to supplement the Nickel MOld which, at the time the Deed of
Novation was executed, had already lapsed or become void.

 149.    The Claimants submitted that the necessary board and shareholder approval was
secured in respect of the Nickel MOld. Alternatively, ZMDC is estopped from relying on any
failure to secure such approval as a result of its failure to use its best endeavours to procure
it;22 and the Respondents have waived any right that they may otherwise have had or else are
estopped from contending that such approval was not obtained.23 Also, the Deed of Novation
constituted an express or implied renewal of the Nickel MOU such that a new agreement on
identical terms to the Nickel MOld (as supplemented by the Deed of Novation) came into
existence.24



21   Amended Answer §11 to 16.

22   Reply §8.


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  150.    As the Tribunal has already concluded, the necessary board and shareholder approva
 to the Nickel MO!) was given.

 151.   It is, in those circumstances, unnecessary to consider the Claimants’ alternative
 arguments based on estoppel, waiver and the Deed of Novation.

                                             5. Illegality
152.     The Respondents submitted that ZMDC was entitled to repudiate the MOUs on the
ground of illegality since they were procured by reason of a corrupt relationship between its
General Manager and the Claimants. They submitted that this position is not saved in respect
of the Nickel MO!) by the Deed of Novation.25

 153.    The allegation of corruption, of which the burden of proof rests on the Respondents,
is based on email correspondence between Mr Ralph and Mr Mubayiwa and concerns the
purchase and transportation for Mr Mubayiwa by Amari Services of a quantity of Italian tiles
and toys for his children prior to Mr Mubayiwa signing the Platinum MOU on ZMDC’s
behalf, without the knowledge or approval of the ZMDC board or the Minister. The
Respondents allege that Mr Mubayiwa has since been dismissed from his post following a
disciplinary proceedings at which he was found guilty of misconduct. Mr Mubayiwa gave
written and oral evidence about his suspension and the disciplinary proceedings. In relation to
the latter, his evidence is that following a successful application by him to the Labour Court
in Zimbabwe for a review of the disciplinary proceedings on the grounds of substantive
irregularity, which was not opposed by ZMDC, he was ordered to be reinstated but that the
Labour Court’s decision was being appealed by ZMDC.

154.     The Claimants submitted that there was no corrupt relationship between ZMDC’s
General Manager and the Claimants which entitled ZMDC to repudiate the MOUs.26 They
rely on the facts that they were not a party to and were unaware at the time of the assistance
given by Mr Nunn (through Amari Services) to Mr Mubayiwa; that such assistance was in
any event entirely proper and not attributable to the Claimants; that it played no role in the
conclusion of the MOUs; and that the decisions by ZMDC to conclude the MOUs were taken
by its board and shareholders and not by Mr Mubiyiwa.

155.     Mr Mubayiwa wholeheartedly refuted the allegation that there existed any corrupt
relationship between him and either the Amari Group or Mr Nunn, which Mr Mubayiwa
considered was being made in bad faith against him. In view of the seriousness of the
allegation, it is important to set out in some detail Mr Mubayiwa’s answer to it.

156.       In relation to the tiles, Mr Mubayiwa’s evidence in his first witness statement is that:

           “3 Z 1   With a board approved loan from the ZMDC I was building a new house in
                    Zimbabwe. The loan was approved because it was thought that it would be
                    more appropriate for the CEO of the ZMDC to live in a better area than the
                    area in which I was previously living.

           37.2     I needed to purchase tiles for my new house and could not find tiles that I
                    liked in Zimbabwe. As I was travellingfrequently to South Africa, I thought I
                    would lookfor tiles in South Africa.



25   Amended Answer §17 to 24 and 35.

26   Reply §19 and 20.
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            373       Whilst I was on a business tr~p to Johannesburg in May 2008, 1 told Nunn
                      that I wanted to look for tiles for my house. Nunn said I could phone Rhys
                      Ralph, his personal assistant, to drive me around to lookfor the tiles.

            37.4      I contacted Ralph and made arrangements to meet him.

            37.5      1 met up with Ralph and we went to Union Tiles and to CT/vt I could not find
                      tiles that! liked at either of these places. Ralph then telephoned his mother to
                      ask for suggestions of other places to source tiles. She suggested Italtile,
                      where Ifowid Fabian Bianco tiles that! liked.

            37.6     I was unable to purchase the tiles there and then. I only had with me
                     US$9000 and a relatively small amount of South African Rands. I was under
                     time pressure to get to the airport and did not have lime to exchange these
                     dollars for rands. Furthermore, Italtile could not tell me whether they had
                     stock of the 200 square meters I required. They said that they would have to
                     try and source these tiles from their other stores. The price that I would have
                     to pay would obviously depend on the quantity of tiles [that] were available.
                     Italtile said that they would contact Ralph and tell him whether they could
                     successfully source the tiles,

            37.7     Before I left Johannesburg, I explained to Nunn what had happened at
                     Italtile. I gave him the US$9000 to cover the cost of the tiles and the R25
                     000.00 that he had advanced to me.

            37.8     Ralph later informed me that lialtile had sourced the quantity of tiles that!
                     wanted.

            37.9     Nunn said to me not to worry about the transport of the tiles because he was
                     sending a container to Zimbabwe in any event.

            37.10    The price ofthe tiles was R41 819.05 from Italtile.

 157.       In relation to the toys for his children, his evidence in his first witness statement is
that:

            “3& 1    After I hadfound the tiles and subsequent to meeting with Nunn, I was being
                     taken to the airport by Ralph. I wanted to purchase a presentfor my daughter
                     and Ralph took me to a doll shop where I bought a doll for my daughter. The
                     doll was called Dindy and it came with a birth cert(/icate. I paidfor the doll
                     with Rands that! had on me.”

 158.    Mr Mubayiwa expanded on that evidence in his oral evidence, during which he
explained the contents of his email exchanges with Mr Ralph from which the Respondents’
allegation of corniption derives.27 In answer to questions from the Tribunal, it was highlighted
to Mr Mubayiwa that he appears to have slightly overpaid Mr Nunn by handing him
US$9,000 but Mr Mubiyawa was untroubled, first because their relationship was based on
trust and, second, because he had made provision in his own mind for there being a cost
involved in the transportation of the tiles to Zimbabwe.28


~‘   Transcript 14/8/12 p. 314 line 10 to p.323 line 23.

28   Ibid., p. 323 line 25 to p.326 line 12.
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159.    Mr Mubayiwa’s evidence, in so far as it related to Mr Ralph, was confirmed by Mr
Ralph in his witness statement and in his oral evidence.29

 160.    Mr Mubayiwa, in paragraph 39 of his first statement, drew attention to the fact that at
the time of his purchases, the Nickel MOU had long been signed and that the only outstanding
matter in respect of the Platinum MOU was the grant of ministerial approval.

 161.    In paragraphs 5 and 6 of his witness statement and in his oral evidence,30 Mr Nunn
confirms that he had instructed Mr Ralph to assist Mr Mubayiwa in the purchase of the tiles.
He says that it was Amari Services which provided this assistance; that the Amari Group, of
which Amari Services was not at the time a part, was unaware of the assistance; that the
assistance was unconnected with the conclusion of the MOUs; and that the Nickel MOU had
long been concluded by the time the assistance was given. His understanding at the time was
that the ZMDC board had already approved the conclusion of the Platinum MOU and that
only the formal ministerial approval was awaited.

 162.    Mr Summers gave oral evidence in chief about Italtile’s quotation dated 28 May 2008
for the tiles in the sum of ZAR 41,819.05 addressed to Mr Ralph to which Mr Summers and
Mr Nunn has affixed their signatures and about the extract from Amari Services’ ledger
relating to the purchase of the tiles. When asked how their signatures came to be on the
quotation, Mr Summers said that the approval process for all payments required both
signatures. A discussion took place between them in which Mr Nunn indicated that the
company was assisting Mr Mubayiwa with the purchase and transport of the tiles and that he,
Mr Nunn, would take care of the arrangements for paying for the tiles and for obtaining
repayment from Mr Mubayiwa. Following their approval of the payment, Mr Summers gave
the quotation to his bookkeeper to do the electronic payment to Italtiles, which was done on
30 May 2008. The copy of the electronic payment transfer before the Tribunal included a
manuscript annotation made on 30 May 2008 by Mr Summers asking Mr Nunn “Mike, how
do J account for this?” and a manuscript response the following week by Mr Nunn stating “I
will get cash from him [Mr Mubayiwa] (or debit my VA [loan account] in interim).” A few
days later, Mr Nunn gave Mr Summers the sum of US$9,000 which Mr Nunn had received
from Mr Mubayiwa. That sum is the equivalent of ZAR 69,210 at the then prevailing
exchange rate, which is the amount shown in the entry dated 5 June 2008 under the
description “Goods Received Voucher” in the Amari Services’ ledger. Against the ledger
entry is a manuscript annotation showing the exchange rate, which Mr Summers said was
made in October 2010 when he was asked by the Claimants’ attorneys to prove the receipt of
the US$9,000.3’

163.    The Respondents appeared to take the view that the Amari Services’ ledger was
capable of “manz~ulation and creation”32 but it was not alleged or put to Mr Summers in
cross-examination that the ledger was not an authentic record of the transactions shown on the
relevant extract and, in particular, the entry pertaining to the US$9,000.

164.    In cross-examination, Mr Summers denied that there was anything improper in
providing Mr Mubayiwa with assistance in the purchase of the tiles since Mr Mubayiwa was
going to repay the monies advanced. He also denied that there was anything improper about

29   Ibid., p. 349 line 8 to p. 352 line 2.

‘°   Ibid., p. 334 line 5 et seq.

3’Ibid.,p.2lóIine l2top.2l9line3.
32   ibid., p.251 line 25 to p.252 line 9.                      CERTIF    A   UEC        OF HE     INALHERE0F



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the tiles being transported to Zimbabwe in a container which contained goods being
transported for the Amari Group, since Amari Services provided logistical services for all the
Amari Group companies and sent one container a week to Zimbabwe in return for a handling
fee from the companies in question.33 He also pointed out that the ledger formed part of
Amari Services’ accounts which were subject to an external audit and a clean audit report.34

165.     In paragraphs S to 17 of his witness statement, Mr Napier describes how, at a meeting
on 20 October 2010 at ZMDC’s offices with Mr Godwills Masimirembwa, the then
chairperson of the ZMDC, and others, he first became aware of the allegation of corruption
resulting from the ZMDC’s internal investigations. He records that he told the ZMDC
representatives that the Amari Group was unaware of the alleged arrangement between Amari
Services and Mr Mubayiwa and that there was no connection at that time between Amari
Services and the Amari Group. The meeting ended with him and Mr Nunn, who was also
present, agreeing to provide a formal response to the allegations. On 25 October 2010, Mr
Napier formally wrote to ZMDC denying any involvement of the Amari Group in the alleged
corruption. ZMDC’s letter in response dated 10 November 2010 reiterated the allegation of
corruption and advised the Amari Group that it should consider the relationship between the
parties under the MOUs terminated.

                            Tribunal’s discussion and conclusion
 166.   The Tribunal has considered carefully the evidence of Mr Mubayiwa, Mr Nunn, Mr
Ralph and Mr Summers on this important aspect of the case. The Tribunal bears in mind that
sections 3(l) and 4 of the Zimbabwe Prevention of Corruption Act (Chapter 9:16) make it an
offence inter a/ia for any public officer to engage in a wide range of corrupt practices; and
that section 170 of the Zimbabwe Criminal Law (Codification and Reform) Act (Chapter
9:23) makes it an offence inter a/ia for any public officer to obtain a bribe.

 167.     The question for the Tribunal is whether the MOUs are, by reason of the alleged
corrupt relationship between Mr Mubayiwa and the Claimants, tainted with illegality such as
to entitle the Respondents to repudiate the MOUs.

168.   In the Tribunal’s view, the allegation of corruption is not well-founded and the
Respondents, on whom the burden of proof lies, have failed to establish it.

 169.   In the first place, the Tribunal is not satisfied that there was anything improper in the
events relied on by the Respondents. Based on the evidence referred to above, which with   —

the qualification mentioned below the Tribunal accepts, the Tribunal finds that Amari
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Services was simply assisting Mr Mubayiwa in the purchase of the tiles and in the advance of
Rands 25,000 made to Mr Mubayiwa, without either he or Amari Services having any
improper ulterior motive or reason for doing so and, in particular, without any intention to
induce or solicit Mr Mubayiwa to act in a way which would or might influence the conclusion
of the MOUs. The Tribunal accepts that the tiles (and the toys) were paid for by Mr
Mubayiwa and that Amari Services did no more than facilitate their purchase, as a favour to a
trusted partner, in circumstances where Mr Mubayiwa was not in possession of sufficient
Rands to complete the purchase of the tiles while in Johannesburg, and arrange their
transportation to Zimbabwe. The Tribunal also finds that the sum of Rands 25,000 was repaid
by Mr Mubayiwa.

170.    In the second place, the events relied on by the Respondents are irrelevant to the
conclusion of the Nickel MOU since those events post-dated by a long time the conclusion of

“   Ibid., p. 224 line 22 to p. 227 line 6.

~ Ibid., p. 236 pp. 2-5.                                          CERTIFI     T    E COP       HE ORI INAL HEREOF



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the Nickel MOU. The Tribunal observes in this context that, in paragraphs 5 and 17 of the
Amended Answer, the allegation of illegality was confined to the Platinum MOU, although in
paragraphs 25 to 28 and 43 of the Amended Answer the allegation extends to the Nickel
MOU as well.

171.     Jn the third place, the Tribunal finds that, at the time of the events in question, Amari
Services was unconnected with the Amari Group and that Amari Services’ actions are not
attributable to the Amari Group. The Tribunal also accepts Mr Napier’s evidence that the
Amari Group was not at any material time aware of the events relied on by the Respondents.

172.    In the fourth place, the Tribunal finds that there was no causal link between the
events relied on by the Respondents and the conclusion of the Platinum MOld. Even it
contrary to the Tribunal’s findings, Mr Mubayiwa had improperly been assisted in the manner
alleged by the Respondents, the decision to conclude the Platinum MOU was not that of Mr
Mubayiwa, who did not even have a vote on the ZMDC board, but that of the ZMDC board
and ZMDC’s shareholders. The assistance afforded to Mr Mubayiwa played no role in
ZMDC’s decision to conclude the MOUs.

173.     In the fifth place, the Tribunal rejects the Respondents’ submission that the Amari
Services’ ledger which showed the credit of the Rand equivalent of US$9,000 was in any way
fabricated. The Tribunal accepts Mr Summers’ evidence concerning the ledger and, in
particular, that the ledger formed part of Amari Services’ accounts which were subject to an
external audit and a clean audit report.

 174.   The qualification referred to in paragraph 169 above is that there are two respects of
Mr Nunn’s evidence which the Tribunal finds unsatisfactory and is unable to accept. First, Mr
Nunn’s manuscript note on the Italtile quotation gives the clear impression that he was not
then in possession of the US$9,000 which in fact had already been handed to him by Mr
Mubayiwa. To that extent, it was misleading. Mr Nunn’s explanation, in response to questions
from the Tribunal, that he had written the note in those terms because he wanted the option to
keep the US$9,000 for himself and to have his loan account with the company debited with
that amount instead of paying it into Amari Services’ account35 does not adequately explain
the note. Second, there appears never to have been an accounting to Mr Mubiyawa for the
overpayment which he made by paying the US$9,000 to Amari Services, about which Mr
Nunn had little or no recollection.36 Mr Nunn’s lack of recollection of these events is, in the
Tribunal’s view, surprising and the apparent absence of any repayment of the difference
having been tendered or made to Mr Mubayiwa is not excused by the fact that the amount of
the overpayment is relatively small. However, for present purposes, nothing turns on either of
those points.

 175.    For all those reasons, the Tribunal finds that the allegation that the MOUs are illegal
is not established.

                              6. Absence of any joint venture agreement
176.      The Respondents submitted that Article 8 of each of the MOUs envisaged that the
parties were obliged to enter into joint venture agreements which incorporate the terms and
conditions of the respective MOUs. Article 8 of the Nickel MOU has been quoted in
paragraph 146 above. Article 8 of the Platinum MOU is in materially identical terms, except
that it also contains a provision in Article 8.3 whereby the Platinum MOU shall “continue to
be of full force and effect and binding on all Parties hereto until such time as the more
comprehensive Agreements referred to in 8.2 are concluded”. The Respondents submitted

~ Ibid., p.338 line II to p.340 line 16.

36   Ibid., p. 342 line 9 to p. 344 line 4.                         CERTIF 0 A     UE C       THE    IGINAL HEREOF


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that the MOUs do not themselves constitute the joint venture agreements referred to and that
no joint venture agreement as contemplated by the MOUs was ever entered into.3’

177.   It is not in dispute that no joint venture agreement as contemplated by the MOUs was
ever concluded. However, the question is whether the absence of any such joint venture
agreement is of any consequence to the present claims.

 178.    In the Tribunal’s view, the absence of any joint venture agreement is irrelevant to the
present claims. ArticleS of each of the MOUs provided expressly for each to be binding upon
signature by the parties and, in due course, to be superseded by a joint venture agreement. In
the case of the Platinum MOU, the provisions of Article 8.3 make express that which is
implicit in the case of the Nickel MOU, namely that the absence of a joint venture agreement
does not render the MOUs invalid or ineffective for the failure of a condition subsequent or
for any other reason.

                                  7. Cancellation of the MOUs
179.     The Respondents submitted that, by reason of the matters referred to above, they were
entitled to cancel the MOUs. For their part, the Claimants submitted that the purported
cancellation of the MOUs was invalid and a repudiatory breach of the MOUs which they
accepted as bringing the MOUs to an end.

 180.     In the light of the conclusions reached by the Tribunal on the matters referred to
above, the Tribunal concludes that the Respondents were not entitled to cancel the MOUs and
that, in purporting to cancel them, the Respondents were in repudiatory breach of the MOUs.

181.     The Tribunal further concludes that it was clear from the Respondents’ conduct
referred to in paragraphs 7 and 9 above that the MOUs were at an end and that the Claimants
would not be either required or permitted to perform their obligations under them. To the
extent that there was any obligation on the Claimants in those circumstances to accept the
Respondents’ conduct as bringing the MOUs to an end, that occurred when, in the light of the
Respondents’ position, the Claimants initiated the present arbitration by the issue of the
Request.

182.      In the result, ZMDC is liable to the Claimants for breach of the MOUs.

                           VII. THE RELIEF CLAIMED
183.    The Tribunal next turns to consider the relief to which the Claimants may be entitled.
The issues of interest and costs are considered separately in Sections VIII and IX below
respectively.

184.    The Claimants submitted that the purpose of the joint ventures was to prospect for
PGMs, base metals and ancillary metals in respect of the Platinum MOU and for nickel in
respect of the Nickel MOU, and subject to successful feasibility studies, develop a mine in the
area. Accordingly, the Claimants seek damages against ZMDC as the direct and natural
consequence of the repudiation of the MOUs as follows: (I) US$42,882,000 for breach of the
Platinum MOU, calculated using a DCF valuation model and based on Amaplat’s proposed
equity holding of 50% in Zimari Platinum; and (2) US$3,900,000 for breach of the Nickel
MOU, calculated using the “ounce in the ground” valuation method and based on Amari’s
proposed equity holding of 55% in Zimari Nickel.



“   Amended Answer §29 to 31.                                        CERTIF        RUE OPY 0 TH    GINAL HEREOF



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          185.   In the alternative to their damages claim, the Claimants claim that ZMDC has been
         unjustly enriched at their expense and that ZMDC is liable to make restitution to Amaplat in
         the sum of US$4,498,190 and to Amari Nickel in the sum of US$578,559, based on the
         amounts advanced to Zimari Platinum and Zimari Nickel respectively.

                                               1. Platinum Claim
         186.     The Claimants relied on Mr Wixley’s expert evidence. He utilises a DCF model to
         value the Platinum Project. He gave his opinion that the information provided by Mr
         Kamurai, Mr Le Roux, SRK Consulting, DRA, BBE Consulting and Fraser Alexander
         constitute sufficient reliable information and data to permit the use of the DCF valuation
         methodology.38

         187.    The Respondents submitted that any award of prospective damages would be
        speculative because the classification of the minerals does not provide a firm basis for
        valuation and pre-feasibility reports were not completed. Therefore, the central contention
        between the Parties was whether the mineral resources can be valued sufficiently to employ a
        DCF valuation model. Further, the Respondents submitted that the presence of talc and
        mining on an apparent dip presented additional safety and costs concerns, and that a discount
        rate of 14% is not appropriate.

         188.    Before turning to these contentions in turn, the Tribunal notes that in relation to
        application of the DCF model, a number of matters were agreed between the Claimants’
        experts and the Respondents’ experts. The experts accepted the parameters of the DCF model,
        including the modif~’ing factors set out in the DRA Mine Scoping Study (except for the error
        in the grade as reported),39 mining costs of R424/tonne (subject to the concern regarding talc
        and dip outlined below),40 the geological loss,4’ and the prill splits.42

        Classification of the Platinum resources
        189.    The Claimants submitted that the DCF valuation model can be used. Mr Theart, as
        co-author of the SRK Consulting Report, gave evidence that the platinum mineral resources
        could be classified as “indicated” for zones A and B and “inferred” in respect of zone C.43 Mr
        Theart also testified that these deposits could actually qualify as “measured resources” but
        adopted these classifications as a conservative measure.44 Mr Kamurai, a mining engineer,
        gave evidence that notwithstanding that the project was stopped before the pre-feasibility
        study was completed, there is sufficient information and data to justify the use of DCF
        valuation methodology.45

        190.    The Respondents submitted that based on the amount of drilling performed by the
        Claimants, the Claimants were unable to prove that the platinum resources fell for
        categorisation either as “indicated” or “measured” resources, and at best, can only be

        38   Wixley §2.2.

             Joint Report, § I.
        ~°   Ibid., § 4

        “    lb/ct, § 5

        42   Ibid, § 5.

             Section 9, SRK Consulting Semi Project Resource Statement October 2010.

        “Transcript 15/8/12, p.37? line 12 to p.378 line 3.
        ~ Further Witness Statement for Clarkson Kamurai § 5.1.8.                                             ~GlNAL HEREOF
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 categorised as “inferred”. Rene Hochreiter, the Respondents quantum expert, gave evidence
 that DCF valuations should not be performed on inferred mineral resources.46 The
 Respondents submitted that as the platinum tonnage, grade and mineral content have not been
 verified geologically, there is no basis upon which a valuation of inferred resources can be
 made.

 191.    The Tribunal has noted that Mr Hochreiter had not viewed the SRK report when he
had formed his opinion provided in his report. The Claimants referred to the Joint Report as
recording Mr Hochreiter’s change in position after viewing the SRK report. In particular, the
Claimants’ position is that the Respondents’ experts agreed with the SRK report in relation to
the classification of the reserves as “indicated” rather than “inferred”, subject only to the
concern expressed that the geological loss was 20% rather than 15% before recognising that
an additional 5% geological loss was provided by DRA Report.47

192.     Mr Goddard, the author of the DRA Scoping Study Report, stated that the step room
and pillar was the preferred mining method. Mr Goddard explained that his results could not
be reported as a “reser•ve” because certain work remained incomplete at the time of
termination. However based on the work already completed, his experience of other work in
the Great Dyke area and his professional skill and knowledge, Mr Goddard gave evidence
 with confidence’ that DRA “would have been in a position to report the results.. .as a
probable mineral reserve (ie a reserve relating to indicated resources in due course” on
completion of his work.48 The Respondents contention is that the work which remained
incomplete when the project stopped precludes the employment of the DCF valuation
methodology. There is otherwise agreement between the Parties’ experts that the modit~,’ing
factors set out in the DRA Mine Scoping Study are adequate.49

Presence of Talc and Apparent Dip
193.    The Respondents submitted that the presence of talc and mining on an apparent dip
would create additional costs. This submission was based on the Respondents’ experts’
concern about the effect on the unit working cost of the presence of talc both in the
metallurgical and the mining aspects, as well as the additional costs associated with mining on
apparent dip.

194.     The Claimants submitted that the evidence of Mr Goddard demonstrates that the issue
of talc would be overcome by employing the appropriate mining method, being the step room
and pillar recommended by Mr Goddard. Mr Goddard noted that where talc was encountered,
it was at another mine in the Great Dyke area which had different geology and where a
conventional mining method was used.

195.   The Claimants submitted that, based on the evidence of Mr Goddard, Mr Kamurai
and Mr Le Roux, apparent dip is not a factor and has no bearing on costs. In particular, Mr
Goddard gave evidence that mining was occurring on reef and Mr Le Roux testified that this
phase of mining was chosen specifically as the dip would not have a big influence.50

46   Response to Claimants Witness Statement of Thomas Wixley and Further Witness Statements by
Philip Le Roux and Clarkson Kamurai by Rene Hochreiter § 4.1.
~ Transcript 4/11/13 p. 116 line 14 top. 119 line 3; Joint Report § I and 5.

48   Witness Statement for Neale Goddard § 9.

~‘   Joint Report § I.

‘°Evidence of Mr Kamuraf, Transcript 15/08112 p. 401 line 22 to p. 402 line 9; Evidence of Mr
Goddard, Transcript 15108112, p. 426 line 21 top. 427 line 9; Evidence of Mr Le  ux, rans I
15/08/12 p.460 lines 5 to IS.                                           CERTIn ATR EC         HE 0~tG~AL HEREOF



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Discount Rate
 196.   The Claimants’ position is that a discount rate of 14% calculated by Mr Wixley is
appropriate. The Claimants submitted this presents a conservative approach at the top end of
the l0%-14% range calculated by Mr Wixley.

 197.    The Respondents do not view a discount rate of 14% to be appropriate. The
Respondents’ experts submitted the appropriate discount rate for a platinum mining operation
in Zimbabwe is at least 15% in real terms to take into account the greater country risk of
Zimbabwe compared to other mining investment countries such as South Africa.51 Though
15% is the lower limit, Mr Hochreiter recommended a discount rate of 1 8%-20% to be
appropriate.52 Further, Shepherd Gaihai provided his opinion that the discount rate should be
inflated due to Zimbabwean country risk, noting a discount factor of at least 19% is estimated
for Zimbabwe by the Fraser Institute of Annual Survey.53

 198.    In justi~’ing a lower discount rate, the Claimants relied on the evidence given by Mr
Kamurai that there was a consistent supply of power for mining businesses in the Great Dyke
area and access to a stable workforce of skilled labour.54 Mr Wixley presented evidence that
government risk had been eliminated as a consequence of the Claimants’ joint venture with
the Zimbabwean Government and that the Claimants were also effectively exempt from
indigenisation laws as a result.55 Mr Wixley also incorporated equity risk with regard to the
fact that this was a green field business venture, took into account the business circumstances
in Zimbabwe and had regard to the discount rate applicable to a mining venture of this nature
in South Africa.

                            Tribunal’s discussion and conclusion
 199.    The Tribunal finds that the information relied on by Mr Wixley in his DCF model is
credible and his methodology is reliable. The breadth and credibility of the Claimants’
evidence combined with the conservative approaches adopted by the Claimants’ experts leads
the Tribunal to accept the classification of the Platinum resources classified as “indicated” for
zones A and B and “inferred” for zone C. The Tribunal places some weight on the Claimants’
submission that the Respondents’ experts agreed to the contents of the SRK report subject to
the qualifications regarding geological loss, though it remains mindful that there was no
explicitly recorded agreement by the Respondents’ experts and no further submissions by the
Respondents. Accordingly, the Tribunal finds that the DCF model is appropriate to value the
platinum resources.

200.     The Tribunal notes the risks raised by the Respondents regarding mining investment
in Zimbabwe. Notwithstanding this, in the Tribunal’s view, a discount rate of 14% is
sufficient in these circumstances. In particular, the Tribunal finds it significant that the
Claimants had formed a joint venture directly with the Zimbabwean Government itself. With
the Government as a party to these mining arrangements, the Tribunal accepts that



~ Joint Report § 3.

52Response to Claimants’ Witness Statement of Thomas Wixley and Further Witness Statements by
Philip Le Roux and Clarkson Kamurai by Rene Hochreiter § 4.4.3.
“ Response to Claimants’ Witness Statement of Thomas Wixley and Further Witness Statements by
Philip Le Roux and Clarkson Kamurai by Shepherd Gaihai §17.
~ Transcript 15/8/12, p.390 line 6 to p.394 line 17.

“Transcript 15/8/12, p.498 line 22 to p.502 line 4.
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 government risk relating to this venture was eliminated. Risk was further mitigated through
 the evidence of a consistent power supply and access to a reliable workforce.

 201.    The Tribunal is satisfied that there would not be additional cost implications arising
 from the presence of talc or mining on an apparent dip. In the Tribunal’s view, the step room
 and pillar mining method would overcome the problem of talc, if any, and accepted the
 Claimants’ experts’ evidence that mining was not occurring on a dip in this part of the project.

 202.   Based on these considerations above, Mr Wixley calculated a total DCF value of
 US$85,765,000 for the Platinum Project. Based on Amaplat’s proposed 50% equity interest in
 Zimari Platinum, the Tribunal finds by a majority that Amaplat is entitled to US$42,882,000
 in damages for ZMDC’s repudiation of the Platinum MOU.

203.    However, the minority of the Tribunal considers that, in circumstances where the
Claimants have not, on the evidence, proved their respective shareholdings in Zimari Nickel
and Zimari Platinum, the Claimants are not entitled to recover damages for breach of the
MOUs and that their remedy is confined to payment by ZMDC of the sums invested by them
in Zimari Platinum and Zimari Nickel respectively. The minority would therefore have
determined that ZMDC was only liable to pay Amaplat the sum of US$4,498,190.

                                       2. Nickel Claim
Valuation Method
204.    The Claimants’ relied on Mr Wixley’s “ounce in the ground” valuation in respect of
the nickel claim. Provided the nickel resources could be measured at an inferred level, both
the Claimants’ experts and the Respondents’ experts agreed Mr Wixley’s valuation methods
are appropriate, being the ounce in the ground method and the historical cost method
(provided the exploration cost estimates can be substantiated)?6

205.     The central issue of contention between the parties was whether the nickel resources
can be classified as inferred. The Respondents’ experts noted that the resource statement on
the Nickel Hill project was completed by a reputable company, but that the verification
process had not been completed. Therefore the Respondents’ experts explained that the nickel
resources do not quali~ as inferred resources and accordingly, no value can be assigned to
those resources.57

206.     The Claimants submitted that the nickel resources can be classified as inferred. The
Claimants referred to the evidence of Mr Le Roux who relied on the underlying data provided
by Prospecting Ventures. Mr Le Roux undertook his own drilling and constructed a three-
dimensional model which confirmed the quantum and the grades in the Prospecting Ventures
reports. Mr Le Roux gave evidence that the nickel resources could be classified higher, but
commented that:58

            “If one looked at the drilling spacing and information, this resource would have been
            able to be class≠ed at a much higher level of confidence, most probably at least at an
            indicated level but we only to class (/5’ it as inferred because the im!formation available
            is old information and we didn’t do all the necessary work to date to verf,5’ the old
            information although all the information that all the additional that we did proved
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56   Joint Report § 17.

“    Ibid. paragraph 16.

~ Transcript 15/8/12, p.481 lines 3 to 12.
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             that the information is correct, we needed to do additional work to prove that. So I
             will be happy that this resource is an inferred resource.”

 207.     Mr Wixley relied on the tonnage and grades presented in the evidence of Mr Le
 Roux. Mr I.e Roux testified that the total tonnage was 23.85 tonnes and the grade was 0.4%
 for Nickel Hill and 0.5% for Woodridge. Mr Wixley used a value per tonne of US$329 ounce
 in the ground.

208.    Mr Wixley’s approach involved benchmarking the value of the nickel resources
against a recent PolyMet Mining Corporation transaction as it contained a similar type of
nickel deposit. From there, Mr Wixley applied a 50% discount because the Poly Met asset
was a measured and indicated resource, compared to an inferred resource in this instance?9

209.     Turning to the alternative present value of historical costs valuation method proposed
by the Claimants, Mr Wixley produced a value of between US$4.5 million and US$6 million
which is in the ballpark range of the ounce in the ground method, based on Amari’s proposed
55% equity interest in Zimari Nickel.6° The Claimants seek the ounce in the ground method of
US$3.9 million, being the lesser of the two valuation methods, based on recommendation of
their experts6’ and that it is conservative and reasonable.62

                            Tribunal’s discussion and conclusion
210.     Having carefully reviewed the submissions of the Claimants and the Respondents, the
Tribunal finds that the nickel resources can be classified as inferred. The Tribunal accepts Mr
Le Roux’s verification of the Prospecting Ventures report and his own drilling and
investigations undertaken.

211.     In accordance with Mr Le Roux’s evidence63 and the subsequent agreement of the
parties’ experts,64 the Tribunal considers that the “ounce in the ground” method is the
appropriate valuation method where the resource is inferred. Accordingly, based on Amari’s
proposed 55% equity interest in Zimari Nickel, the Tribunal finds by a majority that Amari
Nickel is entitled to US$3.9 million in damages for ZMDC’s repudiation of the Nickel MOU.

212.    However, for the reasons already stated in paragraph 203 above, the minority of the
Tribunal considers that Amari Nickel is not entitled to recover damages and that its remedy is
confined to payment by ZMDC of the sum invested by Amari Nickel in Zimari Nickel. The
minority would therefore have determined that ZMDC was only liable to pay Amari Nickel
the sum of US$578,559.

                                           VIII. INTEREST
213.    Section 16(6) of the Zambian Arbitration Act 2000 provides that, unless otherwise
agreed between the parties, an arbitral tribunal may, in an international arbitration such as the



~ Claimants’ Opening Submissions § 42.

60   Transcript 15/8112, p. 610 line 18 to p.612, line 8.

61   Ibid., p.485 lines 13 to 21.

62   Claimants’ Closing Submissions § 146.

63   Further Witness Statement of Philip Le Roux § 30.

~ Joint Report § 17.                                                  CERTIFI   AT   E COP 0        B ORI   I. HEREOF



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 present, award simple or compound interest in accordance with the law applicable to the
 arbitration.

 214.    On the basis that the law applicable to the arbitration is Zimbabwean law, the
Claimants seek an award of simple interest at the rate of 5% per annum applicable to
judgment debts in accordance with the Prescribed Rate of Interest Notice 2009 and the
 Prescribed Rate of Interest Act in force in Zimbabwe from the date of this Final Award until
payment. Jn their closing submissions, the Claimants did not advance any claim for interest
prior to the date of the award.65 They also made it clear that they did not seek any higher rate
of interest to which they might have been entitled under Zambian law.66

 215.       The Respondents made no submissions on the question of interest.

 216.     The Tribunal thus has a broad discretion with regard to the applicable rate of interest
 and period for which interest is to run. In its view, the 5% rate of interest claimed by the
 Claimants and the period for which it is to run are entirely reasonable. In the exercise of its
 discretion, the Tribunal determines that the principal amounts awarded to the Claimants shall
 bear simple interest at 5% per annum from the date of this award until payment.



                                              IX. COSTS
217.     The Claimants seek an order that the Respondents pay the Claimants’ legal and other
costs of the arbitration.

218.   The total sum claimed in respect of the Claimants’ costs and expenses is
US$2,220,583.74 as set out in their original summary of legal expenses and as updated by the
Claimants on 18 November 2013.

219.        The Respondents made no submissions on the question of the Claimants’ costs.

220.    The award of costs is governed by Article 31 of the Rules, which provides so far as
material:

            “Decision as to the Costs of the Arbitration

           1.       The costs of the arbitration shall include the fees and expenses of the
           arbitrators and the ICC administrative expenses fixed by the Court, in accordance
           with the scale in force at the time of the commencement of the arbitration, as well as
           the fees and expenses of any experts appointed by the arbitral tribunal and the
           reasonable legal and other costs incurred by the partiesfor the arbitration.



           3. The final Award shall fix the costs of the arbitration and decide which of the
           parties shall bear them or in what proportion they shall be borne by the parties.”

221.     Accordingly, under Article 31 of the Rules, the Tribunal has broad discretion to
allocate costs as it considers appropriate in the circumstances of this case.

65 Claimants’ Closing Submissions §158, 159, 162.2 and 162.3; Submissions in response to queries
from the Tribunal~l1 and 12.
66   Submissions in response to queries from the Tribunal § 10.           CERTIFI   AT    E CO       HE 0Rlq~NjL HEREOF



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222.    The Claimants have succeeded in their claims and the Tribunal considers that the
general rule that costs follow the event should be applied.

223.     With regard to the amount of the costs claimed, the Tribunal is satisfied that they are
reasonable in amount and have been reasonably incurred. In that regard, the Tribunal has
taken into account not only the factual and legal complexity of the issues which the parties
had to address but also the fact that the Respondents’ conduct referred to earlier in this award
has led to greater costs being incurred by the Claimants than would otherwise have been the
case. In particular, the 4 November 2013 hearing in London and the work involved in
preparing for that hearing would not have arisen had the Respondents decided to continue to
participate in the arbitration proceedings and have the issue of the Tribunal’s jurisdiction
determined in accordance with the Rules and the directions given by the Tribunal.

224.     The total advance on costs fixed by the Court is US$900,000, which has been paid in
full by the Claimants.

225.     At its session of 19 December 2013, the Court fixed the costs of the arbitration in a
total sum of US$900,000 as follows: the ICC’s administrative expenses at US$87,918 and the
fees and expenses of the Tribunal at US$812,082.

226.    Having regard to the considerations referred to above these costs of the arbitration
must also follow the event and, accordingly, be borne by the Respondents.

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227.   In conclusion, for the reasons stated and having given due consideration to the
evidence and the submissions of the parties, the Tribunal:

        (I)     declares that it has jurisdiction over the parties’ dispute;

        (2)     orders ZMDC to pay Amaplat damages in the sum of US$42,882,000;

        (3)     orders ZMDC to pay Amari damages in the sum of US$3,900,000;

        (4)    orders the Respondents to pay the Claimants’ legal and other costs and
        expenses in the sum of US$2,220,583.74;

        (5)     orders the Respondents to pay the Claimants the costs of the arbitration
        referred to in paragraph 225 above in the sum of US$900,000;

        (6)     orders ZMDC to pay interest on the damages referred to in (2) and (3)
        and on the Claimants’ legal and other costs and expenses referred to in (4) above
        and the costs of the arbitration referred to in (5) above at the rate of 5% per
        ann urn from the date hereof until payment;

        (7)     dismisses all other claims and counterclaims.




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Date: I~January 2014

Place of arbitration: Lusaka, Zambia




Chikwendu Madumere
Co-arbitrator




Profeton~ AO
Co-arbitrator




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Stuart Isaacs QC
Chairman




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